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REPORTER'S TRANSCRIPT OF PLEA HEARING

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UNITED STATES DISTRICT COURT... jo 3,59
FASTERN DISTRICT OF TEXAS) -s5 1% fil > 2
BFAUMONT DIVISION sy -asyc9n-BEAUMOMT
UNITED STATES OF AMERICA * DOCKET NO. 1:01CR31 Wy
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Vv. * 9:05 A.M., NOVEMBER 26, 2001
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JOSEPH FRANKLIN SMITH BEAUMONT, TEXAS

VOLUME 1 OF 1, PAGES 1 THROUGH 26
REPORTER'S TRANSCRIP? OF PLEA HEARING
BEFORE THE HONORABLE RICHARD A. SCHELE

UNITED STATES DISTRICT

APPEARANCES:

FOR THE GOVERNMENT: TRACEY M. BATSON
ASSISTANT U.S. ATTORNEY
350 MAGNOLIA, SUITE 150
BEAUMONT, TEXAS 77701

FOR THE DEFENDANT: TONT M. TRIPLETT

EDMOND O'SUJTI

ATTORNEYS AT LAW

1913 NORTH LCOP WEST, SUITE 395
HOUSTON, TEXAS 77018

PROCEEDINGS REPORTED USING COMPUTERIZED STENOTYPE, TRANSCRIPT
PRODUCED VIA COMPUTER-AIDED TRANSCRIPTION.

CHRISTINA BICKHAM, OFFICIAL COURT REPORTER, U.S. DISTRICT COURT
300 WILLOW, ROOM 221, BEAUMONT, TEXAS 77701 409/654-2891

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REPORTER'S TRANSCRIPT OF PLEA HEARING

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9:05 A.M. NOVEMBER 26, 2001
[CALL TO ORDER OF THE COURT]
[OPEN COURT, DEFENDANT PRESENT]
THE COURT: SCHEDULED FOR TRIAL TODAY IS THE CASE

OF THE UNITED STATES VERSUS JOSEPH FRANKLIN SMITH. COUNTS 4

AND 5 OF THE INDICTMENT HAVE NOT BEEN TRIED BECAUSE THEY WERE
SEVERED WHEN WE TRIED COUNTS 1, 2, AND 3 EARLIER IN THE YEAR.

TRACY BATSON IS THE ASSISTANT U.S. ATTORNEY ON
THIS CASE, AND TONI TRIPLETT IS THE DEFENSE LAWYER.

AND MY QUESTION IS TO MS. TRIPLETT. WHAT IS
MR. SMITH GOING TO DO?

MS. TRIPLETT: YOUR HONOR, IT IS MY BELIEF THAT WE
WILL BE MAKING A PLEA IN THIS MATTER; BUT I NEED A FEW MORE
MINUTES TO SPEAK WITH MY CLIENT AND MS. BATSON. WE'RE TRYING
TO SEE IF WE CAN RESOLVE A FEW ISSUES THAT ARE A HOLDUP STILL
ON THIS MATTER. AND I DID CALL HER SECRETARY THIS WEEK AND
INFORM HER OF THAT, THAT I BELIEVE WE MAY BE ABLE TO WORK THIS
OUT THIS MORNING.

THE COURT: OKAY. SO, WERE YOU IN THE PROCESS OF
TALKING WHEN I CAME IN?

MS. TRIPLETT: YEAH. I WAS TALKING WITH
MR. SMITH, AND THEN I NEED TO SPEAK WITH MS. BATSON.

THE COURT: HOW MUCH MORE TIME DO YOU NEED?

MS. TRIPLETT: I WOULD SAY ABOUT 15 MINUTES,

YOUR HONOR.

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REPORTER'S TRANSCRIPT OF PLEA HEARTNG

THE COURT: ALL RIGHT. WE'LL RECESS FOR 15
MINUTES.

[RECESS, 9:06 A.M, TO 9:50 A.M.]

THE COURT: ALL RIGHT. MR. O'SUJI, IS IT
MR. SMITH'S INTENTION TO ENTER A PLEA OF GUILTY TO COUNT 5 OF
THE INDICTMENT?

MR. O'SUJI: YES, YOUR HONOR.

THE COURT: ALL RIGHT. MR. SMITH, WOULD YOU STAND
AT THE PODIUM RIGHT BACK HERE AND SPEAK INTO THE MICROPHONE,
PLEASE.

NOW, MR. O'SUJI, I SEE YOU'RE HERE. I DON'T SEE
MS. TRIPLETT. ARE WE GOING TO WAIT FOR HER, OR IS SHE GONE
SOMEPLACE ELSE?

MR. O'SUJI: WITH A CAUTION, JUDGE, I THINK WE
SHOULD WAIT FOR HER.

THE COURT: OKAY. JI DIDN'T KNOW IF SHE HAD LEFT
TQ GO BACK TO HOUSTON OR SOMETHING.

MR. O'SUJI: NO, JUDGE.

THE COURT: OKAY. WE'LL JUST WAIT.

MR. O'SUJI: THANKS, YOUR HONOR.

THE COURT: WE'RE READY TO PROCEED NOW WITH THE
PLEA, AND I'M INFORMED THAT MR. SMITH IS GOING TO ENTER A PLEA
OF GUILTY TO COUNT 5 OF THE INDICTMENT.

MS. TRIPLETT: THAT'S TRUE, YOUR HONOR.

THE COURT: ALL RIGHT. MR. SMITH, WOULD YOU RAISE

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REPORTER'S TRANSCRIPT OF PLEA HEARING

YOUR RIGHT HAND.

[DEFENDANT SMITH IS DULY SWORN BY THE DEPUTY
CLERK. ]

THE COURT: MR. SMITH, DO YOU UNDERSTAND THAT YOU
ARE NOW UNDER OATH AND THAT IF YOU SHOULD ANSWER FALSELY ANY
OP THE QUESTIONS I'M ABOUT TO ASK YOU, YOUR ANSWERS COULD BE
USED AGAINST YOU IN A SEPARATE PROSECUTION FOR PERJURY OR
MAKING A FALSE STATEMENT?

THE DEFENDANT: YES, SIR.

THE COURT: WOULD YOU STATE YOUR FULL NAME.

THE DEFENDANT: JOSEPH FRANKLIN SMITH, JR.

THE COURT: AND WHAT IS YOUR AGE?

THE DEFENDANT: I'M 20, SIR.

THE COURT: HOW FAR DID YOU GO IN SCHOOL?

THE DEFENDANT: I WAS IN COLLEGE, A FRESHMAN AT
S.T7.5.U. UNIVERSITY.

THE COURT: ALL RIGHT. SO, YOU GRADUATED FROM
HIGH SCHOOL?

THE DEFENDANT: YES, SIR.

THE COURT: HAVE YOU BEEN TREATED RECENTLY FOR ANY
MENTAL ILLNESS OR ADDICTION TO NARCOTIC. DRUGS?

THE DEFENDANT: NO, SIR.

THE COURT: ARE YOU PRESENTLY UNDER THE INFLUENCE
OF ANY DRUGS OR MEDICATION OR ALCOHOLIC BEVERAGE?

THE DEFENDANT: NOT AT THIS MOMENT.

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REPORTER'S TRANSCRIPT OF PLEA HEARING

THE COURT: ALL RIGHT. HAVE YOU RECEIVED A COPY
OF THE INDICTMENT IN THIS CASE?

THE DEFENDANT: YES, SIR.

THE COURT: DO YOU UNDERSTAND THAT IN COUNT 5 OF
THE INDICTMENT, YOU ARE ACCUSED OF KNOWINGLY USING, CARRYING,
AND BRANDISHING A FIREARM DURING AND IN RELATION TO A CRIME OF
VIOLENCE, NAMELY, CARJACKING, THAT IS, KNOWINGLY AND
INTENTIONALLY TAKING A MOTOR VEHICLE THAT HAD BEEN TRANSPORTED
IN INTERSTATE COMMERCE FROM THE PERSON AND PRESENCE OF ANOTHER
BY FORCE, VIOLENCE, AND INTIMIDATION WITH THE INTENT TO CAUSE
DEATH AND SERIOUS BODILY INJURY? DO YOU UNDERSTAND THAT'S
WHAT YOU'RE ACCUSED OF?

THE DEFENDANT: YES, SIR.

THE COURT: HAVE YOU DISCUSSED THOSE ACCUSATIONS
WITH YOUR ATTORNEYS?

THE DEFENDANT: YES, SIR.

THE COURT: DO YOU HAVE ANY QUESTIONS ABOUT WHAT
YOU'RE ACCUSED OF?

THE DEFENDANT: NO, SIR.

THE COURT: ARE YOU COMPLETELY SATISFIED WITH THE
COUNSEL AND ADVICE THAT MS. TRIPLETT AND MR. O'SUJI HAVE GIVEN
YOu?

THE DEFENDANT: YES, SIR.

THE COURT: ALL RIGHT. NOW, I HAVE A PLEA

AGREEMENT THAT HAS BEEN HANDED TO ME; AND IT IS DATED TODAY,

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REPORTER'S TRANSCRIPT CF PLEA HEARING

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NOVEMBER 26TH, 2001. IS THAT YOUR SIGNATURE ON THE PLEA
AGREEMENT?
THE DEFENDANT: YES, SIR.
THE COURT: DID YOU SIGN THE PLEA AGREEMENT ~- DID

YOU READ THE PLEA AGREEMENT BEFORE YOU SIGNED IT?

THE DEFENDANT: YES, SIR.

THE COURT: DID YOU DISCUSS IT WITH YOUR
ATTORNEYS?

THE DEFENDANT: YES, SIR.

THE COURT: PARAGRAPH 1 STATES THAT YOU ARE GIVING
UP YOUR RIGHT TO A JURY TRIAL AND ENTERING A PLEA OF GUILTY TO
COUNT 5 OF THE INDICTMENT WHICH, AS I WENT OVER A FEW MINUTES
AGO, ACCUSES YOU OF USING A FIREARM IN RELATION TO A CRIME OF
VIOLENCE. IS THAT YOUR INTENTION, TO GIVE UP YOUR RIGHT TO A
JURY TRIAL AND PLEAD GUILTY TO COUNT 5?

THE DEFENDANT: YES, SIR.

THE COURT: PARAGRAPH 2 INFORMS YOU THAT UPON
CONVICTION, YOU MAY RECEIVE A SENTENCE OF IMPRISONMENT OF NOT
LESS THAN 25 YEARS AND A FINE NOT TO EXCEED $250,000 MAY ALSO
BE IMPOSED. IN ADDITION, YOU WILL BE PLACED ON SUPERVISED
RELEASE FOLLOWING YOUR IMPRISONMENT FOR A PERIOD OF AT LEAST
THREE YEARS BUT NOT MORE THAN FIVE YEARS; AND YOU WILL BE
REQUIRED TO PAY A 100-DOLLAR SPECIAL ASSESSMENT TO THE
GOVERNMENT CN OR BEFORE SENTENCING. DO YOU UNDERSTAND THAT

RANGE OF PUNISHMENT?

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REPORTER'S TRANSCRIPT OF PLEA HEARING

THE DEFENDANT: YES, SIR.

THE COURT: PARAGRAPH 3 INFORMS YOU THAT YOU MAY
BE RESPONSIBLE FOR RESTITUTION THAT ARISES OUT OF THE
CARJACKING AS OUTLINED IN COUNT 4 OF THE INDICTMENT. DO YOU
UNDERSTAND THAT?

THE DEFENDANT: YES, SIR.

THE COURT: PARAGRAPH 4 INFORMS YOU THAT YOUR
SENTENCE WILL BE CALCULATED UNDER THE U.S. SENTENCING
GUIDELINES AND THAT YOUR SENTENCE COULD BE UP TO THE MAXIMUM
THAT I'VE JUST DESCRIBED FOR YOU. DO YOU UNDERSTAND THAT?

THE DEFENDANT: YES, SIR, I UNDERSTAND.

THE COURT: IS THE RANGE HERE, MS. BATSON, 25 TO
LIFE?

MS. BATSON: YES, YOUR HONOR. IF IT IS DETERMINED
THAT THERE IS A SUBSEQUENT CONVICTION, IT WILL BE 25 TO LIFE.

THE COURT: OKAY. ALL RIGHT. MR. SMITH, DO YOU
UNDERSTAND THAT RANGE OF PUNISHMENT?

THE DEFENDANT: YES, I DO, YOUR HONOR.

THE COURT: ALL RIGHT. HAS ANYONE GIVEN YOU ANY
ESTIMATE OF WHAT YOUR GUIDELINE SENTENCING RANGE MAY BE?

THE DEFENDANT: NO, SIR.

THE COURT: OKAY. DC YOU UNDERSTAND THAT TF YOU
DO RECEIVE AN ESTIMATE BEFORE YCUR SENTENCING, THAT THAT
ESTIMATE IS ONLY A PREDICTION AND THAT THE COURT CANNOT INFORM

YOU OF THE GUIDELINE SENTENCING RANGE UNTIL A FULL PRESENTENCE

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REPORTER'S TRANSCRIPT OF PLEA HEARING

REPORT IS COMPLETED?

THE DEFENDANT: YES, YOUR HONOR.

THE COURT: ALL RIGHT. PARAGRAPH 5 STATES THAT
THE GOVERNMENT DORS NOT OPPOSE A DOWNWARD DEPARTURE FOR
ACCEPTANCE OF RESPONSIBILITY.

WHAT DO YOU MEAN "DOWNWARD DEPARTURE"? DO YOU
MEAN JUST CREDIT FOR ACCEPTANCE OF RESPONSIBILITY?

MS. BATSON: YES, SIR, YOUR HONOR. IF THE
PROBATION OFFICE MAKES A FINDING, WE AGREE NOT TO OPPOSE THAT
FINDING.

THE COURT: THAT HE'S ENTITLED TO ACCEPTANCE OF
RESPONSIBILITY?

MS. BATSON: YES, SIR.

THE COURT: ALL RIGHT. WELL, LET'S SEE. THE
ACCEPTANCE OF RESPONSIBILITY ON THIS COUNT.

MS. BATSON: CORRECT, IN THIS CASE.

THE COURT: THE OTHER COUNTS WENT TO TRIAL.

MS. BATSON: CORRECT.

THE COURT: I HAVEN'T SENTENCED HIM YET ON THE
OTHER COUNTS, HAVE I?

MS. BATSON: NO, SIR, YOUR HONOR,

THE COURT: OKAY. ALL RIGHT. PARAGRAPH 6 STATES
THAT IF THE SENTENCE YOU RECEIVE IS ONE THAT YOU ARE NOT
SATISFIED WITH, YOU MAY NOT WITHDRAW YOUR PLEA OF GUILTY

SIMPLY FOR THAT REASON. DO YOU UNDERSTAND THAT?

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REPORTER'S TRANSCRIPT OF PLEA HEARING

THE DEFENDANT: YES, SIR, I UNDERSTAND.

THE COURT: PARAGRAPH 7 INFORMS YOU THAT YOU MUST
COMPLETE A FINANCIAL STATEMENT NO LATER THAN TWO WEEKS BEFORE
SENTENCING. DO YOU PROMISE TO DO THAT?

THE DEFENDANT: YES, I PROMISE.

THE COURT: PARAGRAPH 8 STATES THAT THE GOVERNMENT
WILL NOT PROSECUTE YOU FOR COUNT 4 OF THE INDICTMENT AND WILL
DISMISS THAT COUNT UPON YOUR SENTENCING FOR COUNT 5 AND
COUNTS 1, 2, AND 3, ALSO, AND THAT THE GOVERNMENT WiLL NOT
PROSECUTE YOU FOR CERTAIN OTHER OFFENSES. IS THAT PART OF
YOUR AGREEMENT?

THE DEFENDANT: YES, SIR, THAT'S RIGHT.

THE COURT: PARAGRAPH 9 STATES THAT YOU ARE GIVING
UP YOUR RIGHT TO APPEAL YOUR CONVICTION AND SENTENCE EXCEPT
THAT YOU ARE RETAINING THE RIGHT TO APPEAL THE COURT'S
CALCULATIONS UNDER THE SENTENCING GUIDELINES. IS THAT YOUR
AGREEMENT?

THE DEFENDANT: THAT'S MY AGREEMENT.

THE COURT: NOW, DOES THIS WAIVER OF RIGHT TO
APPEAL INCLUDE HIS CONVICTION FOR COUNTS 1, 2, AND 3?

MS. TRIPLETT: NO, YOUR HONOR. WE WERE JUST
TALKING IN TERMS OF THESE TWO COUNTS, 4 AND 5.

THE COURT: OKAY. WELL, IF THAT'S YOUR
UNDERSTANDING. IS THAT YOUR UNDERSTANDING, MS. BATSON?

MS. BATSON: YES, SIR, YOUR HONOR,

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REPORTER'S TRANSCRIPT OF PLEA HEARING

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THE COURT: THE PARAGRAPH SAYS "THIS CASE.”

MS. BATSON: RIGHT. MAY I HAVE A MINUTE?

THE COURT: ALL RIGHT.

MS. BATSON: YOUR HONOR, IF THEY COULD JUST HAVE A
MINUTE.

MS. TRIPLETT: CAN WE HAVE ONE MINUTE, YOUR HONOR?

THE COURT: ALL RIGHT.

MS. BATSON: YOUR HONOR, PARAGRAPH 9, IT'S MY
UNDERSTANDING, WILL COVER THE ENTIRE CASE, COUNTS 1, 2, AND 3
AS WELL AS COUNT 5, THE FIRST TRIAL AS WELL AS THIS PLEA.

THE COURT: OKAY.

MS. BATSON: SO, HE DOES UNDERSTAND THAT.

THE COURT: OKAY. DO YOU UNDERSTAND THAT,

MR. SMITH? IN OTHER WORDS, DO YOU UNDERSTAND THAT PARAGRAPH 9
IS SAYING THAT YOU ARE GIVING UP YOUR RIGHT TO APPEAL YOUR
CONVICTION AND SENTENCE IN THIS CASE, INCLUDING COUNTS 1, 2,
AND 3 AND COUNT 5?

THE DEFENDANT: YES, I UNDERSTAND.

THE COURT: ALL RIGHT. AND IS THAT YOUR
AGREEMENT?

THE DEFENDANT: THAT'S MY AGREEMENT.

THE COURT: ALL RIGHT. PARAGRAPH 10 STATES THAT
NOTHING IN THIS PLEA AGREEMENT RELEASES YOU FROM ANY CIVIL
LIABILITY. DO YOU UNDERSTAND YOU COULD BE SUED CIVILLY FOR

THE CARJACKING THAT YOU ARE ABOUT TO ADMIT TO BY PLEADING

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REPORTER'S TRANSCRIPT OF PLEA HEARING

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GUILTY TO COUNT 5?

THE DEFENDANT: YES, SIR, I UNDERSTAND.

THE COURT: PARAGRAPH 11 STATES THAT THIS PLEA
AGREEMENT IS BETWEEN YOU AND THE U.S. ATTORNEY FOR THE EASTERN
DISTRICT OF TEXAS AND DOES NOT PROTECT YOU FROM PROSECUTION BY
ANY OTHER PROSECUTOR. DO YOU UNDERSTAND THAT?

THE DEFENDANT: YES, SIR.

THE COURT: PARAGRAPH 12 STATES THAT THIS IS YOUR
ENTIRE PLEA AGREEMENT AND THAT THERE ARE NO OTHER PROMISES
THAT YOU'RE RELYING UPON OTHER THAN WHAT'S CONTAINED IN
WRITING IN THIS PLEA AGREEMENT. IS THAT TRUE?

THE DEFENDANT: YES, SIR.

THE COURT: DID YOU --

MR. O'SUJI: YOUR HONOR, WE HAVE ONE MINOR
AGREEMENT THAT WE JUST STRUCK WITH THE GOVERNMENT.

MS. BATSON: YES, YOUR HONOR. WE HAVE DECTDED —--
THE GOVERNMENT HAS DECIDED TO SPEAK WITH MR. SMITH AFTER THE
PLEA; AND, SO, THERE MAY —- WE DIDN'T PUT A PROVISION IN HERE
BECAUSE THE DECISION HAD NOT BREN MADE AT THAT TIME; BUT IF
MR. SMITH DOES PROVIDE SUBSTANTIAL ASSTSTANCE, THEN THE
GOVERNMENT MAY PROCEED UNDER EITHER A RULE 35({B) OR A 5K1l AT A
MUCH LATER DATE, DEPENDING ON THE INFORMATION THAT MR. SMITH
GIVES US. AND IT WAS JUST DECIDED PRIOR TO THE BEGINNING AND
ACTUALLY DURING THE PLEA AGREEMENT THAT WE WOULD TALK TO HIM

AFTER THIS.

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REPORTER'S TRANSCRIPT OF PLEA HEARING

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THE COURT: OKAY. WELL, HAVE YOU EXPLAINED ALL
THAT TO HIM?

MR. O'SUJI: YES, YOUR HONOR, WE HAVE.

THE COURT: ALL RIGHT.

ALL RIGHT. LET'S SEE. MR. SMITH, I'M INFORMED
THAT ALTHOUGH IT'S NOT CONTAINED IN YOUR PLEA AGREEMENT, THAT
THE GOVERNMENT HAS AGREED TO EVALUATE WHATEVER ASSTSTANCE YOU
GIVE TO THEM IN ORDER TO DETERMINE WHETHER OR NOT IT Is
SUBSTANTIAL ENCUGH TO WARRANT A MOTION BY THE GOVERNMENT FOR A
DOWNWARD DEPARTURE IN YOUR SENTENCING. DO YOU UNDERSTAND
THAT?

THE DEFENDANT: YES, I UNDERSTAND.

THE COURT: DO YOU UNDERSTAND THAT THIS MEANS THAT
THE GOVERNMENT WILL ASK YOU TO TALK ABOUT WHATEVER INFORMATION
YOU HAVE KNOWLEDGE OF THAT INVOLVES OTHER CRIMES? DO YOU
UNDERSTAND?

THE DEFENDANT: YES, I UNDERSTAND.

THE COURT: AND YOU UNDERSTAND THAT THE GOVERNMENT
WILL ASK YOU INFORMATION ABOUT OTHER PEOPLE THAT MAY HAVE BEEN
INVOLVED IN OTHER CRIMES?

THE DEFENDANT: YES, SIR.

THE COURT: IF YOU COOPERATE AND IF YOU PROVIDE
TNFORMATION TO THE GOVERNMENT, THEN THE GOVERNMENT WILL
EVALUATE THAT INFORMATION AND DETERMINE WHETHER OR NOT IN ITS

JUDGMENT YOUR COOPERATION AND YOUR INFORMATION THAT YOU

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REPORTER'S TRANSCRIPT OF PLEA HEARING

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PROVIDE IS SUBSTANTIAL ENOUGH TO WARRANT A DOWNWARD DEPARTURE.

DO YOU UNDERSTAND THAT THAT IS UP TO THE GOVERNMENT -- THA?
Is, IT IS UP TO THE U.S. ATTORNEY'S OFFICE -- TO MAKE THAT
DECISION?

THE DEFENDANT: YES, SIR.

THE COURT: DBO YOU UNDERSTAND THAT YOU COULD
COOPERATE AND THE GOVERNMENT MAY DECIDE THAT YOUR INFORMATION
IS NOT SUBSTANTIAL AND THEY WILL NOT ASK THIS COURT TO DEPART
DOWNWARD?

THE DEFENDANT: YES, IT UNDERSTAND.

THE COURT: OKAY. DO YOU UNDERSTAND THAT IF THE
GOVERNMENT DOES DETERMINE YOUR COOPERATION TO BE -- THAT YOUR
COOPERATION IS SUBSTANTIAL AND DOES ASK THE COURT TO DEPART
DOWNWARD IN YOUR CASE, IT'S UP TO THE COURT, THEN, TO DECIDE
WHETHER OR NOT TO GRANT SUCH A MOTION AND, IF THE COURT GRANTS
THE MOTION, TO DECIDE BY HOW MUCH TO DEPART DOWNWARD? DO YOU
UNDERSTAND THAT?

THE DEFENDANT: YES, SIR,

THE COURT: DO YOU UNDERSTAND THERE IS NO
GUARANTEE THAT THE GOVERNMENT WILL MAKE THE MOTION TO THE
COURT OR THAT THE COURT WILL DEPART DOWNWARD?

THE DEFENDANT: YES, J UNDERSTAND.

THE COURT: OKAY. PARAGRAPH 12 STATES THAT THIS
IS YOUR ENTIRE PLEA AGREEMENT AND THAT THERE IS NOTHING ELSE

YOU'RE RELYING UPON OTHER THAN WHAT WE'VE JUST TALKED ABOUT AS

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REPORTER'S TRANSCRIPT OF PLEA HEARING

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FAR AS THE GOVERNMENT'S AGREEMENT TO EVALUATE YOUR
COOPERATION. BUT BEYOND THAT, THERE IS NOTHING ELSE YOU'RE
RELYING UPON TODAY IN RETURN FOR YOUR PLEA OF GUILTY. IS THAT
TRUE?

THE DEFENDANT: YES, SIR.

THE COURT: DID YOU SIGN THIS -- DID YOU SAY YES?

THE DEFENDANT: YES, SIR.

THE COURT: DID YOU SIGN THIS PLEA AGREEMENT
FREELY AND VOLUNTARILY?

THE, DEFENDANT: YES, I DID, SIR.

THE COURT: AND YOU'VE GONE OVER IT WITH YOUR
COUNSEL?

THE DEFENDANT: YES, SIR.

THE COURT: HAS ANYONE ATTEMPTED TO FORCE YOU TO
PLEAD GUILTY?

THE DEFENDANT: NO, SIR, YOUR HONOR.

THE COURT: ARE YOU PLEADING GUILTY BECAUSE YOU
ARE GUILTY AND FOR NO OTHER REASON?

THE DEFENDANT: YES, SIR.

THE COURT: DO YOU UNDERSTAND THAT YOUR CONVICTION
IN THIS CASE WILL BE A FELONY CONVICTION?

THE DEFENDANT: YES, I UNDERSTAND.

THE COURT: DO YOU UNDERSTAND THAT AS A RESULT,
YOU CAN LOSE SOME VALUABLE CIVIL RIGHTS, INCLUDING THE RIGHT

TO VOTE, THE RIGHT TO HOLD PUBLIC OFFICE, THE RIGHT TO SERVE

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REPORTER'S TRANSCRIPT OF PLEA HEARING

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ON A JURY, AND THE RIGHT TO POSSESS A FIREARM?

THE DEFENDANT: YES, I UNDERSTAND THAT.

THE COURT: DO YOU UNDERSTAND THAT THE TERM OF
SUPERVISED RELEASE OF THREE TO FIVE YEARS IS IN ADDITION TO
ANY PRISON TIME YOU MAY BE ORDERED TO SERVE?

THE DEFENDANT: CAN YOU REPEAT THAT?

THE COURT: DO YOU UNDERSTAND THAT THE TERM OF
SUPERVISED RELEASE OF THREE TO FIVE YEARS IS IN ADDITION TO
ANY PRISON TIME YOU MAY BE ORDERED TO SERVE?

THE DEFENDANT: OH, YES, SIR.

THE COURT: DO YOU UNDERSTAND THAT IF, INDEED, THE
STATUTORY RANGE OF PUNISHMENT HERE IS 25 YERARS TO LIFE, YOU
WILL BE ORDERED TO SERVE PRISON TIME? DO YOU UNDERSTAND THAT?

THE DEFENDANT: YES, SIR.

THE COURT: DO YOU UNDERSTAND THAT BASED UPON THE
RANGE OF PUNISHMENT HERE, THAT YOU ARE NOT ELIGIBLE FOR
PROBATION’?

THE DEFENDANT: YES, SIR, I UNDERSTAND.

THE COURT: DO YOU UNDERSTAND THAT UNDER SOME
CIRCUMSTANCES THE COURT CAN IMPOSE A SENTENCE THAT IS ABOVE OR
BELOW THE GUIDELINE RANGE?

THE DEFENDANT: YES, SIR, I bo.

THE COURT: DO YOU UNDERSTAND THAT THERE IS NO
PAROLE IN THE FEDERAL SYSTEM AND YOU WILL NOT BE RELEASED

EARLY FROM PRISON ON PAROLE?

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THE DEFENDANT: YES, SIR.

THE COURT: DO YOU UNDERSTAND THAT YOU HAVE A
RIGHT TO PLEAD NOT GUILTY, YOU HAVE A RIGHT TO TRIAL BY JURY
AND TO REPRESENTATION OF COUNSEL AT THAT TRIAL, YOU HAVE A
RIGHT TO REQUIRE THE GOVERNMENT TO PROVE ITS CASE AGAINST YOU
ON COUNTS 4 AND 5 BEYOND A REASONABLE DOUBT, YOU HAVE THE
RIGHT TO QUESTION THE GOVERNMENT'S WITNESSES AND PRESENT YOUR
OWN WITNESSES, YOU HAVE THE RIGHT TO SUBPOENA WITNESSES, AND
YOU HAVE THE RIGHT TO TESTIFY YOURSELF OR NOT TESTIFY AS YOU
CHOOSE?

THE DEFENDANT: YES, SIR, I DO UNDERSTAND THAT.

THE COURT: DO YOU UNDERSTAND IF YOU PLEAD GUILTY
HERE, YOU WILL BE GIVING UP THAT RIGHT; AND THERE WILL BE NO
TRIAL ON COUNTS 4 AND 5 OF THE INDICTMENT?

THE DEFENDANT: YES, I RO.

THE COURT: OKAY. DO YOU UNDERSTAND THAT ON COUNT
5 -- WHICH IS THE COUNT YOU'RE AGREEING TO PLEAD GUILTY TO ——
THAT THE GOVERNMENT WOULD HAVE TC PROVE THAT ON OR ABOUT
JANUARY 2ND, 2001, IN THE EASTERN DISTRICT OF TEXAS, THAT YOU
KNOWINGLY USED, CARRIED, AND BRANDISHED A FIREARM DURING AND
IN RELATION TO A CRIME OF VIOLENCE -- THAT BEING THE CRIME OF
CARJACKING -- IN THAT YOU KNOWINGLY AND INTENTIONALLY TCOK A
MOTOR VEHICLE THAT HAD BEEN TRANSPORTED IN INTERSTATE COMMERCE
FROM THE PERSON AND PRESENCE OF ANOTHER PERSON BY FORCE,

VIOLENCE, AND INTIMIDATION WITH THE INTENT TO CAUSE DEATH AND

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SERIOUS BODILY INJURY? DO YOU UNDERSTAND THE GOVERNMENT WOULD
HAVE TO PROVE ALL OF THAT AT A TRIAL?

THE DEFENDANT: YES, SIR.

THE COURT: ALL RIGHT. MS. BATSON, WOULD YOU
PRESENT AN INDEPENDENT BASIS FOR THIS PLEA?

MS. BATSON: YES.

THE UNITED STATES WOULD PROVE THROUGH THE SWORN
TESTIMONY OF CYNTHIA A. BRAWLEY, A SPECIAL AGENT WITH THE
FEDERAL BUREAU OF INVESTIGATION, THAT ON JANUARY 2ND, 2001, IN
THE EASTERN DISTRICT OF TEXAS, THE DEFENDANT, JOSEPH FRANKLIN
SMITH, DID KNOWINGLY AND INTENTIONALLY COMMIT A CARJACKING BY
FORCE AND VICLENCE AND WITH THE INTENT TO CAUSE SERICUS BODILY
INJURY OR DEATH WHEN HE STOLE A 2001 DODGE DURANGO FROM RONALD
CHANCE. DURING THE CARJACKING MR. SMITH PLACED A GUN TO
MR. RONALD CHANCE'S TEMPLE AND DEMANDED THE CAR KEYS AND THE
VEHICLE WHICH HE THEN TOOK BY INTIMIDATION, FORCE, AND
VIOLENCE WHEN HE STOLE IT.

SPECIAL AGENT BRAWLEY WOULD FURTHER TESTIFY THAT
THE 2001 DODGE DURANGO WAS NOT MANUFACTURED IN THE STATE OF
TEXAS; AND, THEREFORE, IT TRAVELED IN INTERSTATE COMMERCE
PRIOR TO THIS CARJACKING INCIDENT.

AND THAT WOULD BE OUR EVIDENCE, YOUR HONOR.

THE COURT: ALL RIGHT. MR. SMITH, YOU'VE HEARD
THE SUMMARY OF THE FACTS THAT THE GOVERNMENT IS PREPARED TO

PROVE AT TRIAL. DO YOU ADMIT THAT THOSE FACTS ARE TRUE?

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THE DEFENDANT: YES, SIR.

THE COURT: AND DO YOU ADMIT THAT ON OR ABOUT
JANUARY 2ND, 2001, YOU DID KNOWINGLY USE, CARRY, AND BRANDISH
A FIREARM AND COMMITTED THE CRIME OF CARJACKING BY TAKING A
MOTOR VEHICLE THAT HAD BEEN SHIPPED IN INTERSTATE COMMERCE
FROM ANOTHER PERSON, RONALD CHANCE, AND YOU DID SO BY FORCE,
VIOLENCE, AND INTIMIDATION WITH THE INTENT TO CAUSE DEATH AND
SERIOUS BODILY INJURY?

THE DEFENDANT: YES, SIR.

THE COURT: AT THIS TIME, THEN, I'M GOING TO ASK
YOU: HOW DO YOU WISH TO PLEAD, GUILTY OR NOT GUILTY, TO
COUNT 5 OF THE INDICTMENT?

THE DEFENDANT: GUILTY, SIR.

THE COURT: ALL RIGHT. IT'S THE FINDING GF THE

COURT IN THE CASE OF THE UNITED STATES VERSUS JOSEPH FRANKLIN

SMITH THAT THE DEFENDANT IS FULLY COMPETENT AND CAPABLE OF

ENTERING AN INFORMED PLEA. HE IS AWARE OF THE NATURE OF THE
CHARGES AND THE CONSEQUENCES OF HIS PLEA. HIS PLEA OF GUILTY
IS A KNOWING AND VCLUNTARY PLEA SUPPORTED BY AN INDEPENDENT
BASTS IN FACT CONTAINING EACH OF THE ESSENTIAL ELEMENTS OF THE
OFFENSE.

MR. SMITH, IT HEREBY ACCEPT YOUR PLEA OF GUILTY TO
COUNT 5 AND FIND YOU GUILTY OF COUNT 5 OF THE INDICTMENT. A
PRESENTENCE REPORT WILL BE PREPARED ON COUNTS 1, 2, 3 AND 5;

AND THEN WE'LL SET YOUR CASE FOR SENTENCING.

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THE DEFENDANT: ALL RIGHT.

THE COURT: IS THERE ANYTHING FURTHER,
MS. TRIPLE?TT?

MS. TRIPLETT: MR. O'SUJI HAS.

THE COURT: MR. O'SUJI.

MR. O'SUJI: YES, YOUR HONOR, THE DEFENSE WILL BE
ASKING THE COURT FOR -- WE WiLL BE MAKING A MOTION FOR
PSYCHOLOGICAL EVALUATION FOR SENTENCING PURPOSES ON MR. SMITH;
AND WE WOULD ALSO ASK THE COURT TO APPROVE THER PAYMENT OF
THOSE EXPENSES IN LIGHT OF THE FACT THAT OUR CLIENT'S MOTHER,
MRS. SMITH, IS AT THIS POINT CONSIDERING --

THE COURT: CONCERNING WHAT, NOW?

MR. O'SUJT: I WOULD CONSIDER HER AT THIS POINT --

THE COURT: INDIGENT? IS THAT WHAT YOU SATD?

MR. O'SUJI: YES, JUDGE, BECAUSE SHE IS HAVING
SOMEONE ELSE PAY HER BILLS AT THIS POINT IN TIME AND BARELY
MAKING ENDS MEET. So, LT WOULD INFORM THE COURT THAT Wk WILL
BE DOING THAT. I HOPE WHEN THAT IS FILED THE COURT WELL
CONSIDER --

THE COURT: ALL RIGHT. NOW, WAIT A MINUTE. YOU
WANT A PSYCHOLOGICAL EVALUATION FOR SENTENCING?

MR. O'SUJI: THAT'S CORRECT, JUDGE. AND WE WOULD
BE ASKING --

THE COURT: YOU'RE NOT MAKING ANY CLAIM HERE THAT

MR. SMITH IS NOT COMPETENT HERE.

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MR. O'SUJIT: NO, JUDGE. NO, YOUR HONOR.

THE COURT: WHAT WOULD THIS PSYCHOLOGICAL
EVALUATION TELL ME FOR SENTENCING PURPOSES?

MR. O'SUJI: I AM NOT A DOCTOR, JUDGE. I HOPE
THAT THE REPORT WILL HOPEFULLY SPEAK FOR ITSELF FOR THIS
COURT, AND I HATE TO PUT MYSELF IN THAT POSITION TC TELL WHAT
THE REPORT IS GOING TO SAY.

THE COURT: YOU OBVIOUSLY HAVE SOME CONCERN, OR
YOU WOULDN'T BE ASKING FOR THIS.

MR. O'SUJT: WELL, MR. SMITH HAD A ROUGH TEENAGE
LIFE AND HAD --

THE COURT: OH, ALL RIGHT. SO, YOU WILL -~ IF THE
REPORT SAYS WHAT YOU THINK IT WILL SAY, YOU MAY ASK FOR A
DOWNWARD DEPARTURE BASED ON THAT?

MR. O'SUGI: CERTAINLY, JUDGE. IT WILL BE AN
TSSUE FOR US TO RAISE AT SENTENCING, YES.

THE COURT: ALL RIGHT. WHAT'S THE GOVERNMENT'S
POSITION ON THAT?

MS. BATSON: YOUR HONOR, I'M NOT SURE THAT WE ARE
READY TO AGREE TC THAT AT THIS TIME, ESPECIALLY IF THE
GOVERNMENT IS GOING TO HAVE TO PAY FOR THAT. I'M NOT SURE
THAT THAT'S EVER BEEN DONE FOR SENTENCING PURPOSES. YOU KNOW,
IT'S USUALLY PAID FOR PRIOR TO THE BEGINNING OF ANY
PROCEREDING. SO, IF THE COURT WANTS TO GO AHEAD AND ORDER IT,

THEN I GUESS IT'S UP TO THEM TO MAKE A SHOWING THAT WH SHOULD

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PAY FOR IT. BUT AT THIS TIME I CAN'T AGREE THAT WE SHOULD BE
RES PONSTBLE.

THE COURT: YEAH. I SUPPOSE IT'S UP TO MB. I'VE
NOT APPOINTED EXPERTS WHERE COUNSEL IS RETAINED GENERALLY.

MS. TRIPLETT: YOUR HONOR, IF I MAY, WE WERE
RETAINED BY MRS. SMITH AND —-

THE COURT: IS MRS. SMITH IN THE COURTROOM?

AUDIENCE MEMBER: YES, I AM.

THE COURT: THIS IS HER RIGHT BACK HERE?

MS. TRIPLETT: YES. AND SHE'S ON A LONG-TERM
PAYMENT PLAN AS FAR AS PAYING OUR FEES FOR REPRESENTING HIM IN
THIS MATTER. AND BASICALLY SHE'S HAVING TO GET ASSISTANCE
WITH HER OWN MONTH-TO-MONTH EXPENSES AS SHE CONTINUES TO PAY
US MONTHLY TO REPRESENT HIM, BASED UPON MY DISCUSSIONS WITH
HER. I JUST DON'T BELIEVE THAT WITHOUT -- SHE WOULD HAVE TO
TRY AND FIND SOMEBODY TO TRY AND BORROW SOME MONEY FROM TO PAY
FOR THIS. BASICALLY SHE'S BEEN TAPPED OUT WITH THE FIVE-DAY
TRIAL AND OUR FURTHER REPRESENTATION OF HIM IN THIS MATTER
AND --

THE COURT: WELL, LET ME --

MS. TRIPLETT: IT'S A HARDSHIP FOR HER.

THE COURT: WHY DO YOU WANT A PSYCHOLOGIST WHEN
YOU CAN MAKE WHATEVER MOTION YOU WANT TO MAKE AT SENTENCING?
IF YOU HAVE A MOTION FOR DOWNWARD DEPARTURE -- I MEAN, IF

YOU'RE TALKING ABOUT HIS TEENAGE YEARS AND WHAT SORT OF FAMILY

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SITUATION HE GREW UP WITH -- AND I'M NOT SAYING THAT THAT
WOULD HAVE A BEARING ON WHAT SENTENCE I WOULD IMPOSE, BUT
CERTAINLY YOU CAN TALK TO MRS. SMITH. YOU CAN TALK TO JOSEPH
SMITH AND GET THAT INFORMATION.

MR, O'SUGI: WELL, JUDGE, I AGREE WITH YOU
CERTAINLY; BUT WE BELIEVE THAT THE REPORT WILL HELP US TO
RESEARCH THE ISSUES WITH REGARD TO SENTENCING ON THIS MATTER
AND PRESENT A MORE PLAUSIBLE ARGUMENT FOR THE COURT. BUT
WITHOUT THAT, I THINK WE. CAN'T DO ANY HINDSIGHT; AND WE WANT
TO BASE ANY AND ALL ISSUES THAT WE ARE GONNA RAISE BEFORE THIS
COURT --

THE COURT: WELL, YOU SEE, WHAT WILL HAPPEN [5
YOU'LL HIRE A PSYCHOLOGIST; AND THAT PSYCHOLOGIST WILL TELL
YOU ONE THING. THEN THE GOVERNMENT WILL FEEL LIKE IT MAY NEED
TO HERE A PSYCHOLOGIST THAT WILL TELL ME SOMETHING COMPLETELY
DIFFERENT, DEPENDING ON WHO EMPLOYS THE PSYCHOLOGIST. I MEAN,
THAT MAY BE WHAT THE OUTCOME WOULD BE HERE.

MR. ©'SUJT: AND WE HOPE THAT WILL BE THE CASE,
JUDGE.

THE COURT: YOU HOPE THAT WiLL BE THE CASE?

MS. TRIPLETT: NO, WE DON'T HOPE THAT WILL BE THE
CASE. I MEAN, IF NECESSARY, YOUR HONOR, WE COULD TALK WITH
THE GOVERNMENT ABOUT PSYCHIATRISTS THAT THEY HAVE FOUND TO BE
REPUTABLE. WE CAN PICK ONE OF THOSE TO EVALUATE HIM. WE

DON'T HAVE A PREFERENCE AS TO ONE PARTICULAR PSYCHOLOGIST

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WE'RE GOING TO GO OUT THERE AND GET BECAUSE HE HAS ANY TYPE OF
ALLIANCE TO DEFENSE IN THIS CASE. WE JUST FEEL THAT —-

THE COURT: YEAH. I MEAN, ALL THE INFORMATION I
CAN GET HELPS ME WITH SENTENCING. OKAY? MR. SMITH IS A YOUNG
MAN. HE'S 20 YEARS OLD. HE'S ACCUSED OF SOME VERY SERIOUS
CRIMES. HE'S BEEN CONVICTED ALREADY CF A SERIOUS CRIME. HE'S
JUST PLED GUILTY AND JUST BEEN CONVICTED OF ANOTHER SERIOUS
CRIME. SO, ALL OF THE INFORMATION I CAN GET WILL HELP ME IN
DETERMINING WHAT IS AN APPROPRIATE SENTENCE FOR HIM.

BUT I DON'T KNOW THAT I WANT TO START APPOINTING
EXPERTS WHOSH HELP TO THE COURT IS TENUOUS AND KIND OF
UNCERTAIN RIGHT NOW. I DON'T KNOW HOW MUCH EELP THAT'S GOING
TO GIVE ME. I DON'T REALLY KNOW THAT THERE ARE ANY GUIDELINES
FOR THIS, AND I SUPPOSE IT IS PURELY DISCRETIONARY IF I WANT
TO APPOINT SOMEONE, THEN THE GOVERNMENT WILL HAVE TO PAY FOR
IT.

MR, O'SUJI: AGAIN, IN LIGHT OF THE FACT THAT
MRS. SMITH, THE CLIENT'S MOTHER, IS NOT ABLE TO PAY FOR IT, WE
STILL ASK THE COURT TO HELP US APPROVE ONE FOR HIM.

THE COURT: YHAH. WELL, THERE WOULD NEED TO BE
SOME LIMIT ON THE DOLLAR AMOUNT.

MR. O'SUJI: OKAY.

THR COURT: AND I DON'T EVEN KNOW WHAT
PSYCHOLOGISTS WOULD CHARGE TO -- I WOULD IMAGINE TT WOULD

PROBABLY BE ONE MEETING WITH MR. SMITH. WHAT DO YOU HAVE IN

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MIND? LIKE $500 OR SOMETHING LIKE THAT?
MR. O'SUJI: I BELIEVE THE LIMIT IS $600. THAT'S
MY --
THE COURT: I DON'T HAVE THE BOOK RIGHT HERE. I
CAN'T REMEMBER. I'M NOT SURE WHAT IT IS.
MR. O'SUJT: WE COULD -- $500 COULD HELP US A

WHOLE LOT. IF THERE IS --

THE COURT: ALL RIGHT. I'VE NOT DONE THIS BRFORE,
BUT I'LL TRY IT AND WE'LL SEE WHAT THE RESULT IS. SO, I'LL
APPROVE THE APPOINTMENT OF A PSYCHOLOGIST OR PSYCHIATRIST FOR
$500, NO MORE THAN $500; AND I WOULD LIKE FOR YOU TO CONSULT
WITH MS. BATSON AND SEE IF YOU CAN AGREE ON SOMEONE.

MS. TRIPLETT: THAT'S FINE.

THE COURT: OKAY?

MS. TRIPLETT: THAT'S FINE, YOUR HONOR.

MR. O'SUGI: THANK YOU.

THE COURT: I'LL ASK THE CLERK TO PREPARE WHATEVER
T NEED TO SIGN TO AUTHORIAE THAT.

MS. TRIPLETT: THANK YOU, YOUR HONOR.

THE COURT: OKAY?

MR. O'SUJI: YES, SIR.

THE COURT: ALL RIGHT. MS. BATSON, ANYTHING
FURTHER?

MS. BATSON: WOT AT THIS TIME, YOUR HONCR. THANK

YOu.

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REPORTER'S TRANSCRIPT OF PLEA HEARING

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THE COURT: OKAY. NOW, LET'S SEE. IS THIS
MR. CHANCE BACK HERE?

MS. TRIPLETT: THAT'S MR. JANUARY, A WITNESS.

THE COURT: OH, OKAY. WELL, I SAW A COUPLE BACK
HERE; AND I DIDN'T KNOW IF YOU WERE INVOLVED IN THIS CASE
SOMEHOW, SIR.

AUDIENCE MEMBER: NO, SIR. I'M A WITNESS IN
ANOTHER CASE, YOUR HONOR.

THE COURT: OH, IN ANOTHER CASE THAT YOU'RE
INTERVIEWING HIM ON?

MS. TRIPLETT: NO, YOUR HONOR. I THOUGHT YOU WERE
TALKING ABOUT MR. JANUARY IN THE BACK OF THE COURTROOM.
THAT'S WHO I THOUGHT YOU WERE TALKING ABOUT.

THE COURT: OKAY. WE DON'T HAVE ANOTHER CASE SET
THIS MORNING, DO WE?

DEPUTY CLERK: NO, SIR.

THE COURT: IS IT JUST SOMEONE YOU'RE MEETING
WITH, MS. TRIPLETT?

AUDIENCE MEMBER: NO, SIR. I HAVE A SUBPOENA TO
COME TO COURT THIS MORNING.

SPECIAL AGENT: HE'S IN -- I BELIEVE IT'S JUDGE
HEARTFIELD'S COURT, THE LIBERTY COUNTY COMMISSIONER'S CASE.

THE MARSHAL: IT SAYS "JUDGE SCHELL."

THE COURT: I DIDN'T KNOW IF YOU WERE THE VICTIM

IN THIS CASE AND YOU WANTED TO SAY SOMETHING.

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L AUDIENCE MEMBER: NO.
2 THE COURT: OKAY. THAT'S ALL RIGHT.
3 YOU'RE EXCUSED. THANK YOU.
4 [PROCEEDINGS CONCLUDED, 10:21 A.M. ]
5; COURT REPORTER'S CERTIFICATION
6 I HEREBY CERTIFY THAT THE FOREGOING iS A CORRECT

7| TRANSCRIPT FROM THE RECORD OF PROCEEDINGS.

8 ij ~ ttn
pda bar Klann NOVEMBER 26, 2001

9| CHRISTINA L. BICKHAM, CRR, RPR

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